* Motion for rehearing denied, without costs, on October 13, 1944.
For the opinion covering this case, see ante, p. 417.
This case was argued with International Union, UnitedAutomobile, Aircraft  Agricultural Implement Workers ofAmerica v. Wisconsin Employment Relations Board, ante, p. 417, 14 N.W.2d 872.  The facts of the case, with the reasons for the decision, are set forth in the opinion in that case. *Page 440 
 By the Court. — The judgment of the circuit court is reversed, and the cause is remanded with directions to strike from par. (b) of 2 of the affirmative portion of the order to the plaintiff union "Pay to the respondent, Wisconsin Motor Corporation, one half of the amount of money required to be paid by this order by the respondent, Wisconsin Motor Corporation, to . . . Sylvester Bezie, to make whole said Sylvester Bezie for the amount of wages lost by him from the date of his discharge to the date of his reinstatement;" and to enter judgment modifying the order of the board as above directed, confirming said order as modified and commanding the enforcement of the modified order as prayed in the cross petition of the board.